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                               UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
5
                                      WESTERN DIVISION
6
7    UNITED STATES OF AMERICA,                       Case No. 20-MJ-2326
8                 Plaintiff,                         ORDER MODIFYING CONDITIONS
                                                     OF BOND
9          v.
10   WILLIAM SADLEIR,
11                Defendant.
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           GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the
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     financial component of the bond previously issued in this matter is modified as follows:
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     By July 9, 2020, defendant shall post four affidavits of surety without justification in the
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     total amount of $5,000,000. The four individuals who shall post the affidavits are:
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     Hannah Sadleir, defendant’s wife; Tyson Sadleir, defendant’s son; Don Rich, friend; and
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     Jonathan Neville, friend. Each surety shall be jointly and severally liable for the
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     $5,000,000 bond. The existing $100,000 affidavit of surety without justification signed
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     by Hannah Sadleir will be exonerated upon receipt of her new $1.25 million affidavit of
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     surety without justification. The cash deposit and other surety conditions are removed
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     from the bond. All other conditions of the bond previously issued shall remain in effect.
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24   Dated: 6/23/2020
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                                     _______________________________________
26                                         Alexander F. MacKinnon
27                                         United States Magistrate Judge
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